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                                                SUPERIOR COURT OF NEW JERSEY
MATTHEW SWAIN,                                  LAW DIVISION: ESSEX COUNTY
                                                DOCKET NO. ESX-L-4996-16
                         Plaintiff,
                                                                Civil Action
V.
                                                PLAINTIFF'S NOTICE OF MOTION
HERMES OF PARIS; LORENZO                        TO REINSTATE HIS LAD
BAUTISTA, Individually; ABC                     COMPLAINT UNDER R. 4:42-2, and to
Corporation(s) 1-5; and JOHN and/or
JANE DOE(S) 1-5,                               INV ALIDA TE & BAR DEFENDANTS'
                                               LAD ARBITRATION CONTRACT
                        Defendants.            FROM ANY FURTHER
                                               ENFORCEMENT UNDER ROACH v.
                                               BM MOTORING, LLC, 228 N.J. 162
                                               (2017)


TO:    Lawrence R. Sandak, Esq.
       Edna D. Guerrasio, Esq.
       Proskauer Rose LLP
       One Newark Center
       Newark, N.J. 07102

COUNSEL:

       PLEASE TAKE NOTICE that the undersigned attorneys for Plaintiff Matthew Swain in

this case filed under the New Jersey Law Against Discrimination ("LAD") shall move before

the Superior Court of New Jersey, Law Division, Essex County, on Thursday, March 29, 2018,

at 9:00 a.m. in the forenoon, or as soon thereafter as the matter can be heard, for an Order

invalidating the Defendant employer's LAD arbitration contract pursuant to Roach v. BM

Motoring, LLC, 228 N.J. 162 (2017), reinstating the Plaintiffs LAD Complaint under Rule 4:42-
                                                 1
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2, barring Defendants from further enforcing the unconscionable LAD arbitration adhesion

contract.

        PLEASE TAKE FURTHER NOTICE that, in support of this motion, Plaintiff shall

rely on the accompanying Certification of Christopher W. Hager, Esq., with exhibits.

       PLEASE TAKE FURTHER NOTICE that no dates have been scheduled for a calendar

call, trial or pretrial conference, and that a proposed form of Order is respectfully submitted

herewith.

       PLEASE TAKE FURTHER NOTICE that Plaintiff requests oral argument if this

motion is opposed.

                                              NIEDWESKE BARBER HAGER, LLC
                                              Attorneys for Plaintiff Matthew Swain



                                              By:~~~
                                                  CHRISTOPHER W~

Dated: March 9,2018
